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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                 SENIOR JUDGE WILEY Y. DANIEL


   Courtroom Deputy:     Robert R. Keech           Date: May 17, 2018
   Court Reporter:       Tracy Weir


   Civil Action No: 16-cv-02471-WYD-MJW            Counsel:

   EQUAL EMPLOYMENT OPPORTUNITY                    Rita Byrnes Kittle
   COMMISSION,                                     Michael H. Imdieke

         Plaintiff,

   LUCY MARSH,                                     Baine P. Kerr
   K.K. DuVIVIER.                                  Charlotte N. Sweeney
   NANCY EHRENREICH,                               Joan M. Bechtold
   KRIS McDANIEL-MICCIO,                           Ariel B. DeFazio
   CATHERINE SMITH,
   JOYCE STERLING, and
   CELIA TAYLOR,

         Intervenors,

   v.

   UNIVERSITY OF DENVER,                           Jim Goh

         Defendant.


                                      COURTROOM MINUTES


   MOTION HEARING

   10:07 a.m.     Court in Session.

                  APPEARANCES OF COUNSEL.

                  Court’s opening remarks.


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                Plaintiff’s Motion for Order to Enter Consent Decree (Doc. No. 125), filed April 24,
                2018, is raised for argument.

   10:10 a.m.   Discussion and argument by counsel.

   ORDERED:     Plaintiff's Motion for Order to Enter Consent Decree (Doc. No. 125), filed April 24,
                2018, is GRANTED.

   ORDERED:     Parties shall submit a revised Consent Decree not later than Thursday, May 17,
                2018.

   10:30 a.m.   Court in Recess. HEARING CONCLUDED.

   TOTAL TIME: :23




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